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                                                                                                          United States District Court
AO 472 (Rev. 11/16) Order of Detention Pending Trial                                                        Southern District of Texas

                                                                                                               ENTERED
                                                                                                             October 29, 2024
                                         UNITED STATES DISTRICT COURT                                       Nathan Ochsner, Clerk

                                                                    for the
                                                         Southern District of Texas
                    United States of America                           )
                               v.                                      )
                                                                       )                    Case No. 4:24-mj-463
                   Luis Angel Vaca Garfias                             )
                         Defendant                                     )

                                      ORDER OF DETENTION PENDING TRIAL
                                                       Part I - Eligibility for Detention

Upon the

  ‫ ܈‬Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), or
  տ Motion of the Government or Court’s own motion pursuant to 18 U.S.C. § 3142(f)(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court’s findings of fact
and conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.

                              Part II - Findings of Fact and Law as to Presumptions under § 3142(e)

տ A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable presumption
  that no condition or combination of conditions will reasonably assure the safety of any other person and the community
  because the following conditions have been met:
  տ (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(f)(1):
        տ (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
           § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
        տ (b) an offense for which the maximum sentence is life imprisonment or death; or
        տ (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the Controlled
         Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act (21 U.S.C. §§ 951-
         971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
        տ (d) any felony if such person has been convicted of two or more offenses described in subparagraphs (a) through
         (c) of this paragraph, or two or more State or local offenses that would have been offenses described in
         subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal jurisdiction had existed,
         or a combination of such offenses; or
        տ (e) any felony that is not otherwise a crime of violence but involves:
           (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921); (iii) any
           other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
  տ (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
     § 3142(f)(1), or of a State or local offense that would have been such an offense if a circumstance giving rise to
     Federal jurisdiction had existed; and
  տ (3) the offense described in paragraph (2) above for which the defendant has been convicted was committed while the
     defendant was on release pending trial for a Federal, State, or local offense; and

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   տ (4) a period of not more than five years has elapsed since the date of conviction, or the release of the defendant from
     imprisonment, for the offense described in paragraph (2) above, whichever is later.

‫ ܈‬B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
  rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
  defendant as required and the safety of the community because there is probable cause to believe that the defendant
  committed one or more of the following offenses:
  ‫( ܈‬1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the Controlled
      Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act (21 U.S.C. §§ 951-971),
      or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
  տ (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
  տ (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more
      is prescribed;
  տ (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum term of
      imprisonment of 20 years or more is prescribed; or
  տ (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251, 2251A,
      2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260, 2421, 2422, 2423,
      or 2425.

տ C. Conclusions Regarding Applicability of Any Presumption Established Above

       ‫ ܈‬The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is ordered on
        that basis.
       OR

       տ The defendant has presented evidence sufficient to rebut the presumption, but after considering the presumption
        and the other factors discussed below, detention is warranted.

                                    Part III - Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Government has proven:

   ‫ ܈‬By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
     the safety of any other person and the community.

   ‫ ܈‬By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure the
     defendant’s appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention include the following:

          տ Weight of evidence against the defendant is strong
          ‫ ܈‬Subject to lengthy period of incarceration if convicted
          տ Prior criminal history
          տ Participation in criminal activity while on probation, parole, or supervision
          տ History of violence or use of weapons
          տ History of alcohol or substance abuse
          տ Lack of stable employment
          ‫ ܈‬Lack of stable residence
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          ‫ ܆‬Lack of financially responsible sureties
          ‫ ܈‬Lack of significant community or family ties to this district
          ‫ ܈‬Significant family or other ties outside the United States
          ‫ ܈‬Lack of legal status in the United States
          ‫ ܈‬Subject to removal or deportation after serving any period of incarceration
          ‫ ܆‬Prior failure to appear in court as ordered
          տ Prior attempt(s) to evade law enforcement
          տ Use of alias(es) or false documents
          տ Background information unknown or unverified
          տ Prior violations of probation, parole, or supervised release

OTHER REASONS OR FURTHER EXPLANATION:

Defendant Luis Angel Vaca Garfias did not attempt to rebut the presumption favoring his detention pending trial. That
alone justifies detaining him. But even setting the presumption aside, his detention would still be merited.

Defendant was arrested following a consent search that found 116 kilograms of cocaine in the back of the Jeep Cherokee
he was driving. The street value of the cocaine is about $2.5 million. Possessing such huge quantities of controlled
substances not only indicates an intent to distribute them, but also evinces Defendant’s significant ties to nefarious
trafficking networks. In addition, Defendant attempted to thwart the investigation by breaking the screens of two mobile
devices in his possession, just after law enforcement stopped his vehicle. The foregoing facts clearly and convincingly
demonstrate that Defendant’s release would pose unacceptable dangers to the community.

A preponderance of the evidence also showed that Defendant poses a significant flight risk. Defendant has no legal status
here, could not even tell pretrial services his local address, and has extremely limited ties to this District. His family
members are all in Mexico. And given the significant potential sentence he faces if convicted—a minimum of 10 years to
life in prison—he has every incentive to flee.

Accordingly, the Court finds no condition or combination of conditions are sufficient to reasonably ensure that Defendant
would not pose a danger to the community or a risk of nonappearance if he were released. It is therefore ORDERED that
Defendant Luis Angel Vaca Garfias be DETAINED pending trial.

                                                  Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation
with defense counsel. On order of a court of the United States or on request of an attorney for the
                                                                                                 th Government, the person
in charge of the corrections facility must deliver the
                                                    he defendant to a United States Marshal for the purpose of an appearance
in connection with a court proceeding.

      October 29, 2024
Date:_____________________________                         _____________________________________________
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                                                                                  t tes Magistrate Judge




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